         Case 17-12708    Doc 172    Filed 09/25/18    Entered 09/26/18 12:32:01   Desc Main
                                UNITED STATES BANKRUPTCY
                                     Document    Page 1 of 1COURT
                                   DISTRICT OF MASSACHUSETTS
                                  Proceeding Memorandum/Order

In Re:                                                              Case/AP Number               -FJB
                                                                    Chapter




COURT ACTION:
_________Hearing held
_________Granted    __________ Approved ___________ Moot
_________ Denied    __________ Denied without prejudice      __________Withdrawn in open court
_________ Overruled __________ Sustained
_________Continued to___________________________________________________________________________
_________Proposed order to be submitted by _____________________________________________________
_________Stipulation to be submitted by_________________________________________________________
_________No appearance by ______________________________________________________________________
Show Cause Order    __________Released     ___________Enforced




                                           IT IS SO ORDERED:




                                           ________________________________Dated:________
                                           Frank J. Bailey
                                           United States Bankruptcy Judge
